         Case 5:18-cv-00680-FB Document 26 Filed 08/31/18 Page 1 of 4




                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

RUSSELL ZINTER, et al;
                                                 CIVIL ACTION NO: 5:18-CV-680
              Plaintiffs,

VS.

CHIEF JOSEPH SALVAGGIO, et al;

          Defendants.
________________________________________/

      PLAINTIFFS’ MOTION TO RESCHEDULE THE TRO HEARING
      NOW COME Plaintiffs, by and through their attorneys, and respectfully seek
an Order from this Honorable Court rescheduling the TRO hearing currently
scheduled for September 7, 2018, and extending the TRO until whatever the new

hearing date is, in the event the herein request to reschedule is granted. Plaintiff relies
on the accompanying Brief In Support.
                                          Respectfully Submitted,

                                          EXCOLO LAW, PLLC
                                          /S/ Solomon M. Radner
                                          SOLOMON M. RADNER
                                          Attorney for Plaintiffs
                                          26700 Lahser Rd, Suite 401
                                          Southfield, MI 48033
                                          248-291-9712
                                          sradner@excololaw.com


DATED: August 31, 2018




                                           -1-
         Case 5:18-cv-00680-FB Document 26 Filed 08/31/18 Page 2 of 4




                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                        SAN ANTONIO DIVISION

RUSSELL ZINTER, et al;
                                       CIVIL ACTION NO: 5:18-CV-680

                   Plaintiffs,

VS.

Chief Joseph Salvaggio, et al;

               Defendants.
_____________________________________________/

       PLAINTIFFS’ BRIEF IN SUPPORT OF THEIR MOTION TO
                RESCHEDULE THE TRO HEARING
      This Court entered an Order, ECF #25, scheduling the TRO, ECF #22, for a

hearing to take place on September 7, 2018 at 10:30 AM, and extending the TRO
until that date and time. Plaintiffs thank the Court for its attention to this, but
respectfully request the Court to reschedule the hearing based upon the following:

   1. Undersigned Counsel is Plaintiffs’ lead counsel and should be the attorney
      appearing in court for this hearing. Unfortunately, the undersigned is
      scheduled to be far away from the courthouse on Sep 6 and 7, tending to a
      personal matter that was scheduled some months ago. Prior to filing the instant
      motion, Plaintiff’s counsel emailed the Court’s chambers and cc’ed defense
      counsel, advising the Court of this issue and requesting that it be rescheduled.
      Aware that this matter has some urgency, the undersigned requested the
      hearing to take place earlier on Sep 5, 2018. In response to that:
         a. The court’s clerk advised Plaintiffs that a motion would need to be filed,


                                        -2-
       Case 5:18-cv-00680-FB Document 26 Filed 08/31/18 Page 3 of 4




        b. Defense counsel advised that he was unavailable on Sep 5, 2018,
        c. The undersigned then stated that Plaintiffs’ local counsel would appear

  2. However, in reviewing the issues and the documents at hand, Plaintiffs are
     now seeking to have this matter rescheduled if at all possible so that the lead
     counsels for all parties could attend. Plaintiffs are requesting that this TRO be

     rescheduled for a hearing on one of the following dates: September 13, 17, 20
     (only PM), 26 (only PM), or 27, 2018.
  3. Further, since this upcoming Monday is a legal holiday, it is likely that some

     witnesses, who may need to be subpoenaed to testify, may be difficult to
     subpoena either because they are out of town, will be out of town, or are
     otherwise in a place where a process server may have trouble finding them.

  WHEREFORE, Plaintiffs respectfully request that this Court:
        a. Reschedule the Hearing Date, and
        b. Extended the TRO until that date.
                                              Respectfully Submitted,

                                              /S/ Solomon M. Radner
                                              Solomon M. Radner (MI No. P73653)
                                              Attorney for Plaintiffs
                                              26700 Lahser Rd, Suite 401
                                              Southfield, MI 48033
                                              248-291-9712
                                              sradner@excololaw.com
DATED: August 31, 2018




                                        -3-
         Case 5:18-cv-00680-FB Document 26 Filed 08/31/18 Page 4 of 4




                               PROOF OF SERVICE
      On August 31, 2018, the undersigned served this notice on all known parties

of record by efiling it on this Court’s efiling system which will send notice to counsel
of record for all parties, with the exception of the Doe defendants who have yet to
be identified.

                                 /s/ Solomon M. Radner




                                          -4-
